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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF
DIVISION
(Write the District and Division, if any, of
the court in which the complaint is filed.)

TBC ALY
Rebecca Run kel

Kate Leen K ane Complaint for a Civil Case

Case No. Ly - ve Ak |
(Write the full name of each plaintiff who is filing (io be filled in by the Clerk’s Office)
this complaint. If the names of all the plaintiffs
cannot fit in the space above, please write “see JuryTrial: = Yes 0 No
attached” in the space and attach an additional

. : (check one)
page with the full list of names.)

-against-

Queen a Cag land < UHR alow! ox

GovenmMent of Cand AX
C12 MMo 0 Pleas Cou ck Sudeyel) CA Stores of Cem sya

(Write the full name of each defendant who is \

being sued. If the names of all the defendants JrAye wi \ \x KM Ca Ve enler
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

FILED

HARRISBURG. ™4
FEB 1 7 2016

MARIA E. ELKINS, CLERK
Per_| [4

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1. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name TRY AA M A Ly
Street Address = -_ aka ¥24'5 jlovth Brad Sheet
City and County eh (Lee dal elie

State and Zip Code pean $¥ LV ania LAV 22
Telephone Number £15 YUS7 Bo ¢Y

E-mail Address Ph hy Explfess lo @ & mad. com

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name Do ee ol yotha ove,

Job or Title \
(if known) Cag Lauad
Street Address

City and County
State and Zip Code
Telephone Number

E-mail Address
Gf known)

Defendant No. 2

Name sudye Lun care elev

Job or Title Mont4omety County
(if known) d

Street Address

City and County

Il.

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State and Zip Code

Telephone Number

E-mail Address

(if known)

Defendant No. 3

Name AMER Car PRM QC radar

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Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

Defendant No. 4

Name

Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case. In a diversity of citizenship case, no defendant may be a citizen of the same State
as any plaintiff.

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What is the basis for federal court jurisdiction? (check all that apply)

Xf Federal question O Diversity of citizenship
Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. If the plaintiff is an individual

The plaintiff, (name) , iS a citizen of
the State of (name)

b. If the plaintiff is a corporation

Lancy Compan \
The plaintiff, (name) eadi A ° , is incbrporated, .
under the laws of the State of (namey” ° epnsy L Vary \, “A
and has its principal place of business in the State of (name) Veen are

RuvGCRoa d— Urrted Steites Cedevel Aton

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name) , iS a citizen of
the State of (name) . Oris acitizen of

(foreign nation)

HI.

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b. If the defendant is a corporation

The defendant, (name) , is
incorporated under the laws of the State of (name)

, and has its principal place of
business in the State of (name) . Oris
incorporated under the laws of (foreign nation)

, and has its principal place of

business in (name)

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, not counting interest
and costs of court, because (explain):

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiffs rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

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IV.

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Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages.

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. | understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: 2- (t 20 Lo

Signature of Plaintiff SAV

Printed Name of Plaintiff

B. For Attorneys

Date of signing: , 20

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Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

Telephone Number
E-mail Address

